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       EXHIBIT H
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REDACT
From: Kenneth.McStine@Ferguson.com <Kenneth.McStine@Ferguson.com>
Sent: Tuesday, December 7, 2021 3:04:42 PM
To: Huber, Barry <barry.huber@axaxl.com>
Subject: Bond claim Big Horn Construction Bond US00104943SU21A

[CAUTION EXTERNAL]

Barry

Attached is our notice to file a bond claim against your client, who has never made a payment to us.

Please forward a proof of claim form to me at your earliest convenience

Thank you


Ken McStine
Credit Manager
Ferguson Waterworks
13900 Lowe Street, Chantilly, VA 20151
T: (703) 375-5897 F: (703) 435-1662
C: (703) 357-4446
E: kenneth.mcstine@ferguson.com




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